      Case: 1:19-cv-03347 Document #: 26 Filed: 02/21/20 Page 1 of 2 PageID #:132




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ELIZABETH ROHDE, individually and             )
 on behalf of a class of similarly situated    )
 individuals,                                  )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )   Case No. 1:19-cv-03347
                                               )
 ADP, LLC, a Delaware limited liability        )   Hon. Sara L. Ellis
 company,                                      )
                                               )
                Defendant.                     )

                                     NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Thursday, February 27, 2020 at 1:45 p.m., or as soon

thereafter as counsel may be heard, Defendant ADP, LLC shall appear before the Honorable Sara

L. Ellis, or any judge sitting in her stead, in the courtroom usually occupied by her in the United

States District Court for the Northern District of Illinois, Eastern Division, Courtroom 1403, at

219 South Dearborn Street, Chicago, Illinois, and present Defendant ADP, LLC’s Motion for

Leave to File Notice of Supplemental Authority, a copy of which is served upon you herewith.


Dated: February 21, 2020                             ADP, LLC

                                                     By: /s/ David C. Layden_________
                                                             One of its attorneys

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                               CERTIFICATE OF SERVICE

       I certify that on February 21, 2020, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will then send a Notice of Electronic Filing to all counsel

of record.

                                                            /s/ David C. Layden
